            Case 3:12-cr-00470-JAH                          Document 41                   Filed 03/20/12               PageID.90              Page 1 of 2


     ""AO 245B (CASD) (Rev, 1112)     Judgment in a Criminal Case
                                                                                                                                          FILED
                Sheet I




                                                UNITED STATES DISTRICT COUR                                                        CLERK US DISTRICT COURT
                                                                                                                                     ERN DISTRICT OF CALIFORNIA
                                                     SOUTHERN DISTRICT OF CALIFORNIA                                                                             DEPUTY

                      UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                           v.                                             (For Offcnscs Committcd On or After November 1, 1987)

                          Hugo Hernandez-Rodriguez -1                                     Case Number: 12-cr-00470-JAH-l
                                                                                          Alysia D. Franklin Federal Defenders
                                                                                          Defendanfs Attorney
    REGISTRATION NO. 30123298
    o
     THE DEFENDANT:
     !81 pleaded guilty to count(s)_O:..n:..c:..'o:..f:..t:.:.h. :,e. .:l:.:.nfi:..,:o..:,rm:.:.:.:.a. :.:ti_on_._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o      was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s). which involve the fo II ow ing offense(s):
                                                                                                                                                    Count
     Title & Section                        Nature of Offense                                                                                      Number(s)
8: 1324(a)( I )(A)(ii)                   Transportation of Illegal Aliens
& (v)(II)




        The defendant is sentenced as provided in pages 2 through                     2         ofthis judgment. The sentence is imposed pursuant
 o
 to the Sentcncing Rcform Act of 19&4.
      The defendant has been found not guilty on count(s)

 O Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _---------------------------------------------
                                      _ _ _ _ _ _ _ is 0 arc 0 dismissed on the motion of the United States.
 [81 Assessment: $100.00 waived.


 [81 No fine                                           o   Forfeiture pursuant to order filed
                                                                                                       -----------------
                                                                                                                                , included herein.
       IT IS ORDERED that the defendant shall notity the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines. restitution, costs. and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notity the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                                  12-cr-00470-JAH-1
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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 2   Imprisonment

                                                                                            Judgment -   Page _ _2__ of       2
 DEFENDANT: Hugo Hernandez-Rodriguez -I
 CASE NUMBER: 12-cr-00470-JAH-l
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         Time served.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody ofthe United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.    on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before -----------------------------------------------------------------------
          o notified by the United States Marshal.
               as
          o notified by the Probation or Pretrial Services Office.
               as



                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at ________________ , with a certified copy of this judgment.


                                                                                          ~TEDSTATESMARSHAL



                                                                   By __________~~~~~____---------------­
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                 12-cr-00470-JAH-l
